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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA

 v.                                                   Case Number: 3:19-CR-00083-M

 RUEL M. HAMILTON (1)


               GOVERNMENT’S MOTION IN LIMINE (UNOPPOSED)

        The government submits this Motion in Limine asking the Court to prohibit any

 mention or argument to the jury that any defense counsel were former state or federal

 prosecutors, Department of Justice Attorneys, a United States Attorney, Assistant United

 States Attorneys, government lawyers, or held similar positions.

        That is, the government moves to preclude counsel for the defendant and any

 witness from referring to counsel’s previous experience as state or federal prosecutors, a

 United States Attorney, Department of Justice Attorneys, government lawyers, or held

 similar positions, and from mentioning the cases they have prosecuted or held positions

 in when said cases were prosecuted in the jury’s presence. Such information is

 immaterial to the guilt of the defendant and has no relevance to the trial.

        Lead defense counsel in this case served as an Assistant United States Attorney for

 approximately three years, from in or about 1990 until in or about 1993. Further, on or

 about May 2, 2025, Mr. Damien Diggs filed a Notice of Appearance in this case. Prior to

 joining Winston & Strawn, Mr. Diggs was the United States Attorney for the Eastern




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 District of Texas. And before that, Mr. Diggs was an Assistant United States Attorney in

 the Northern District of Texas, and he also worked for the government before that.

        Their experiences and work, while commendable, have no relevance to the trial of

 the defendant here. They have no tendency to make a relevant fact more or less probable

 than it would be without the jury being made aware of such information. See Fed. R. of

 Evid. 401, 402. “[P]rior prosecution experience is irrelevant to any issue to be decided”

 during the trial. United States v. Palumbo Bros., No. 96 CR 613, 1998 WL 67623, at *5

 (N.D. Ill. Feb. 3, 1998), rev’d on other grounds, 145 F.3d 850 (7th Cir. 1998) (“The

 government’s uncontested motions in limine to bar Giles from referring to . . . prior

 prosecution experience of counsel [is] . . . GRANTED[.]”); see also United States v.

 Andreas, 23 F. Supp. 2d 835,852 (N.D. Ill. 1998) (“The government moves to exclude

 defense counsel from referring to their prior prosecutorial experience, before the jury.

 Such statements are irrelevant . . . . Accordingly, the motion is granted and all counsel are

 ordered to refrain from mentioning their prior prosecutorial experience.”).

        Many lawyers begin their careers as state and federal prosecutors to gain trial

 experience, and some lawyers take such positions later in life. But the prior employment

 of defense counsel is not relevant, just as prior military service or other honorable

 positions and positions of respect are not relevant, and should not be mentioned to a jury.

 United States v. Smith, 3:17-CR-446-B (N.D. Tex.) (granting government’s motion in

 limine that “Lawyers or witnesses shall not reference, mention, explain or argue to the

 jury the fact that any defense counsel were former prosecutors, government lawyers,

 Securities & Exchange Commission lawyers, federal agents, or held any other similar


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 positions”); United States v. Greenlaw, No. 4:21-CR-289-O (N.D. Tex.) (granting

 government’s motion in limine seeking to prohibit defendants from discoing the former

 employment of defense counsel).

        Thus, the government respectfully requests that the Court instruct defense counsel

 to refrain from referring in any way to their prior experience as former state or federal

 prosecutors, their former service as a United States Attorney, any former affiliations with

 any United States Attorney’s Office, the Department of Justice, and any experience in

 handling investigations whether they, as prosecutors, would have sought to investigate or

 prosecute the defendants.

                                           Respectfully submitted,

                                           CHAD E. MEACHAM
                                           ACTING UNITED STATES ATTORNEY

                                           s/ Tiffany H. Eggers
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                           CERTIFICATE OF CONFERENCE

        On May 22, 2025, the government conferred with lead defense counsel on this

 motion, and on May 23, 2025, lead counsel indicated the defendant is not opposed to the

 government’s motion.

                                          s/ Tiffany H. Eggers
                                          TIFFANY H. EGGERS
                                          Assistant United States Attorney

                               CERTIFICATE OF SERVICE

        On May 23, 2025, this document was filed using the electronic case filing system

 of the Court, which will provide a copy of this document to all counsel of record.

                                          s/ Tiffany H. Eggers
                                          TIFFANY H. EGGERS
                                          Assistant United States Attorney




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